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11
12                          UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
     LINDSY SAARLOOS, individually and                 Case No. 5:24-cv-2058
15   on behalf of all others similarly situated,
                                                       DECLARATION OF LINDSY
16                                  Plaintiff,         SAARLOOS IN SUPPORT OF
                                                       PLAINTIFF’S MOTION FOR
17         v.                                          ATTORNEYS’ FEES, COSTS,
18                                                     EXPENSES, AND SERVICE
     THE COWBOY CHANNEL, LLC,                          AWARD
19
                                                       Date: August 7, 2025
20                                 Defendant.          Time: 10:00 a.m.
21                                                     Ctrm: 3
                                                       Judge: Hon. Kenly Kiya Kato
22
23
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26
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28
     DECLARATION OF LINDSY SAARLOOS
     CASE NO. 5:24-CV-2058-KK-SP
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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA


 LINDSY SAARLOOS, individually and on                 Case No. 5:24-cv-02058-KK-SP
 behalf of all others similarly situated,

                               Plaintiff,

        v.

 THE COWBOY CHANNEL, LLC,

                               Defendant.


    DECLARATION OF LINDSY SAARLOOS IN SUPPORT OF PLAINTIFF’S
  MOTION FOR ATTORNEYS’ FEES, COSTS, EXPENSES, AND SERVICE AWARD

I, LINDSY SAARLOOS, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

       1.      I am an adult over the age of 18 and a resident of the State of California. I am a

Class Representative in the lawsuit entitled Saarloos v. The Cowboy Channel, LLC, Case No. 5:24-

cv-2058, currently pending in the Central District of California. I make this Declaration in support

of the Motion for Attorneys’ Fees, Costs, Expenses, and Incentive Awards. The statements made

in this Declaration are based on my personal knowledge and, if called as a witness, I could and

would testify competently thereto under oath.

       2.      In or about July 2022, I created and paid for a Cowboy Channel Plus (“CC+”)

account operated by Defendant. Immediately after I created my CC+ account, I began using the

CC+ Website and my CC+ account to watch various prerecorded videos. I believed my personally

identifiable information (“PII”) would be protected while using the CC+ service (use of

Defendant’s CC+ website called the “CC+ Service”). I never consented to, agreed to, or otherwise

permitted the CC+ Service to disclose my PII, and I was never given the opportunity to prevent

the disclosure of my PII by the CC+ Service I purchased. The CC+ Service that I purchased began


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disclosing my PII and video-viewing information to third parties, including Meta, Google and

Yahoo after I purchased and began using it to view videos.

        3.       I assisted with the litigation of this case by detailing my dealings with Defendant.

Specifically, I described to my lawyers my relationship as a customer of Defendant. I also

provided my lawyers with documentation confirming the same.

        4.       I also worked with my attorneys to prepare the Class Action Complaint. I carefully

reviewed the Class Action Complaint for accuracy and approved it before it was filed.

        5.       During the course of this litigation, I kept in regular contact with my lawyers.

Specifically, I conferred with them regularly by phone and e-mail to discuss the status of the case.

We also discussed case strategy, anticipated motions, and the prospects of settlement.

Furthermore, when appropriate, I informed my attorneys of additional facts for their research and

consideration.

        6.       I was also prepared to testify at deposition and trial, if necessary.

        7.       My lawyers have kept me well informed in regard to the efforts to resolve this

matter. I reviewed the Class Action Settlement Agreement with them and gave my approval prior

to signing it.

        8.       Based on the interactions and my relationship with my attorneys, I believe they

have fairly and adequately represented me and the Settlement Class and will continue to do so.

        9.       Throughout this litigation, I understood that, as a Class Representative, I have an

obligation to protect the interests of other Settlement Class Members and not act just for my own

personal benefit. I do not have any conflicts with other Settlement Class Members. I have done

my best to protect the interests of other Settlement Class Members and will continue to fairly and

adequately represent the Settlement Class to the best of my ability.




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